Case 2:04-cr-20481-SH|\/| Document 29 Filed 08/09/05 Page 1 of 2 Page|D 43

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FoR THE wEsTERN DISTRICT oF TENNESSEE '

 

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UNITED sTATEs oF AMERICA, ) CLEH;USM DJS S’ID;PT
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) ~ z:*JW,S
Plaintiff, )
)
vs. ) cR. No. 04-20481-01-Ma
)
MARCUS BUFORD, )
)
Defendant. )

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on August 5, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Marcus Buford, appearing in person and with
appointed counsel, Mr. Handel Durham.

With leave of the Court, the defendant entered a plea of
guilty to Count l of the Indictment. Plea colloquy was held and
the Court accepted the guilty plea.

Sentencing in this matter is set for Monday, November 7, 2005
at 1:30 p.m.

The defendant is remanded to the custody of the United States
Marshal.

__E:fé>day of August, 2005.

SAMUEL H. MAYS, JR.
UNI'I‘ED S'I‘ATES DISTRIC'I‘ JUDGE

ENTERED this the

 

Thls dochent entered on the docket sheet |n compliance
with Hule 55 and/ot 32fbl FRCrP on

 

 

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This notice confirms a copy of the document docketed as number 29 in
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Honorable Samuel Mays
US DISTRICT COURT

